      CASE CASE
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Prob 12 (Rev. 11/1/2004)

                             United States District Court
                                               for the
                                   DISTRICT OF MINNESOTA
                                United States v. Tathony M. Brown
                             Docket No. 0864 0:19CR00247-001(PAM)
                             Amended Petition on Supervised Release

        COMES NOW Kelly N. Moser, U.S. PROBATION OFFICER OF THE COURT,
presenting an official report upon the conduct and attitude of Tathony M. Brown who was
sentenced for Felon in Possession of a Firearm on May 4, 2017, by the Honorable Ronnie L. White
in the Eastern District of Missouri, who fixed the period of supervision at 2 years supervised
release, and imposed the general terms and conditions theretofore adopted by the Court and also
imposed special conditions and terms as follows:

         •        Participate in drug/alcohol treatment program
         •        Substance abuse testing
         •        Submit to searches
         •        Psychological/psychiatric counseling/treatment
         •        Education programming
         •        Special assessment $100.00

On October 22, 2019, Your Honor accepted jurisdiction of this case.

On May 18, 2020, supervised release was revoked due to a conviction in state court for Fleeing a
Peace Officer in a Motor Vehicle. He was ordered to time served and placed back on supervised
release with the same terms and conditions until the original expiration date of August 1, 2021.
Supervision commenced on May 19, 2020.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

         MANDATORY CONDITION: You must refrain from any unlawful use of a
         controlled substance.

On September 23, 2020, the defendant tested positive for marijuana.

         SPECIAL CONDITION: You must submit to substance abuse testing to determine
         if you have used prohibited substance. You must not attempt to obstruct or tamper
         with the testing methods.

On October 13, 2020, and December 3, 2020, the defendant failed to report for drug testing.

         SPECIAL CONDITION: You must participate in a substance abuse treatment
         program and follow the rules and regulations of that program. The probation officer
         will supervise your participation in the program (provider, location, modality,
         duration, intensity, etc.)
    CASE CASE
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On October 16, 2020, October 23, 2020, and December 2, 2020, the defendant failed to contact
the treatment provider to set up a substance abuse assessment as instructed.

       STANDARD CONDITION: After initially reporting to the probation office, you
       will receive instructions from the court or the probation officer about how and when
       you must report to the probation officer, and you must report to the probation officer
       as instructed.

On November 4, 2020, after receiving information that the defendant had left the District of
Minnesota, a message was left for the defendant to report to the U.S. Probation Office, but the
defendant failed to report. A letter was sent to the defendant to report on November 12, 2020, and
he again failed to report.

       Additional Violations:

       MANDATORY CONDITION: You must not commit another federal, state, or
       local crime.

On January 23, 2021, the defendant was charged in Hennepin County District Court for Obstruct
Legal Process-Lawful Execution Legal Process for an incident that happened on January 22, 2021.
The next hearing date is scheduled for May 12, 2021.

       MANDATORY CONDITION: You must refrain from any unlawful use of a
       controlled substance.

On February 9, 2021, the defendant tested positive for marijuana.

On March 4, 2021, the defendant provided a urine sample that had a presumptive positive for
marijuana. Results are pending.

       SPECIAL CONDITION: You must participate in a substance abuse treatment
       program and follow the rules and regulations of that program. The probation officer
       will supervise your participation in the program (provider, location, modality,
       duration, intensity, etc.)

As of March 5, 2021, the defendant has failed to contact the treatment provider to set up a substance
abuse assessment as instructed on January 28, 2021.

       SPECIAL CONDITION: You must participate in an educational services program
       and follow the rules and regulations of that program. Such programs may include
       high school equivalency preparation, English as a Second Language classes, and
       other classes designed to improve your proficiency in skills as reading, writing,
       mathematics, or computer use.

As of March 5, 2021, the defendant has failed to participate in educational services as instructed
on January 28, 2021.
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PRAYING THAT THE COURT WILL ORDER that the Petition submitted on January 12, 2021,
be amended by the addition of the violations noted herein.


         ORDER OF THE COURT                      I declare under penalty of perjury that the
                                                 foregoing is true and correct.
                               9th
Considered and ordered this __________  day
      March, 2021
of __________________,    and ordered filed      s/ Kelly   N. Moser
and made a part of the records in the above
case.                                            Kelly N. Moser
                                                 U.S. Probation Officer
                                                 Telephone: 612-664-5355
Honorable Paul A. Magnuson                       Executed on     March 5, 2021
Senior U.S. District Judge
                                                 Place           Minneapolis

                                                 Approved:

                                                 s/Reginale B. Hall
                                                 Reginale B. Hall
                                                 Supervising U.S. Probation Officer
